Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 1 of 37 PageID 848




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA, et al.,
                    Plaintiffs,
             v.
                                             No. 8:24-cv-317-WFJ-AAS
 CENTERS FOR MEDICARE &
 MEDICAID SERVICES, et al.,
                    Defendants.

         DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
                FOR A PRELIMINARY INJUNCTION
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 2 of 37 PageID 849




                                        TABLE OF CONTENTS

INTRODUCTION..................................................................................................1

BACKGROUND ....................................................................................................3

I.      The Medicaid and CHIP Programs ................................................................3

II.     Continuous Eligibility in State Medicaid and CHIP Plans ..............................4

        A.       Prior Law ............................................................................................4

        B.       The Consolidated Appropriations Act, 2023 ........................................5

        C.       The Challenged Guidance ...................................................................6

III.    This Case ......................................................................................................7

LEGAL STANDARD ............................................................................................7

ARGUMENT .........................................................................................................8

I.      This Court lacks jurisdiction to hear this case. ................................................8

        A.       Florida’s claim is not ripe for judicial review. .......................................8

        B.       This Court lacks jurisdiction under the CHIP statute. ......................... 13

II.     Florida does not face irreparable harm. ........................................................ 16

III.    Florida is unlikely to succeed on the merits. ................................................. 19

        A.       The FAQs properly interpret the CAA’s amendments to CHIP. ......... 19

        B.       CMS’s interpretation of the CAA is not arbitrary and capricious. ....... 25

        C.       The FAQs constitute an interpretive rule exempted from the
                 APA’s rulemaking requirements. ....................................................... 27

IV.     The equities and the public interest weigh against injunctive relief. ............... 28

CONCLUSION ....................................................................................................29




                                                           i
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 3 of 37 PageID 850




                                          TABLE OF AUTHORITIES

CASES

Abbott Lab’ys v. Gardner,
  387 U.S. 136 (1967) ........................................................................................ 9, 12

Citibank, N.A. v. Citytrust,
  756 F.2d 273 (2d Cir. 1985) ................................................................................ 18

Clapper v. Amnesty International USA,
  568 U.S. 398 (2013) ............................................................................................ 19

Davidoff & CIE, S.A. v. PLD Int’l Corp.,
 263 F.3d 1297 (11th Cir. 2001) .............................................................................8

De La Fuente v. Kemp,
  679 F. App’x 932 (11th Cir. 2017) ...................................................................... 17

Dismas Charities, Inc. v. U.S. Dep’t of Just.,
  401 F.3d 666 (6th Cir. 2005) ............................................................................... 28

Doe v. Fed. Aviation Admin.,
 432 F.3d 1259 (11th Cir. 2005) ..................................................................... 14, 15

Duarte v. Mayorkas,
 27 F.4th 1044 (5th Cir. 2022) .............................................................................. 22

Elend v. Basham,
  471 F.3d 1199 (11th Cir. 2006) .............................................................................9

Elgin v. Dep’t of Treasury,
  567 U.S. 1 (2012) ......................................................................................... 14, 16

Epic Sys. Corp. v. Lewis,
  584 U.S. 497 (2018) ............................................................................................ 24

Florida v. HHS,
  19 F.4th 1271 (11th Cir. 2021) ............................................................................ 19

Flowers Indus. v. FTC,
  849 F.2d 551 (11th Cir. 1988) ............................................................................. 13

Golden Gate Rest. Ass’n v. City & Cnty. Of San Francisco,
 512 F.3d 1112 (9th Cir. 2008) ............................................................................. 29
                                                         ii
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 4 of 37 PageID 851




Gonzalez v. McNary,
 980 F.2d 1418 (11th Cir. 1993) ........................................................................... 23

Great Plains Coop v. Commodity Futures Trading Comm’n,
  205 F.3d 353 (8th Cir. 2000) ............................................................................... 15

Hodel v. Va. Surface Mining & Reclamation Ass’n,
 452 U.S. 264 (1981) ............................................................................................ 19

Ipharmacy v. Mukasey,
  268 F. App’x 876 (11th Cir. 2008) ........................................................................9

Jean v. Nelson,
  711 F.2d 1455 (11th Cir. 1983) ........................................................................... 13

K Mart Corp. v. Cartier, Inc.,
  486 U.S. 281 (1988) ............................................................................................ 22

La. Env’t Action Network v. U.S. EPA,
  382 F.3d 575 (5th Cir. 2004) ............................................................................... 26

Lujan v. Nat’l Wildlife Fed’n,
  497 U.S. 871 (1990) ..............................................................................................9

Metropolitan Sch. Dist. v. Davila,
 969 F.2d 485 (7th Cir. 1992) ............................................................................... 28

Motor Vehicle Mfrs. Ass’n v. State Farm,
 463 U.S. 29 (1983) .............................................................................................. 26

Nat’l Advert. Co. v. City of Miami,
 402 F.3d 1335 (11th Cir. 2005) ........................................................................... 10

Nat’l Park Hosp. Ass’n v. Dep’t of Interior,
 538 U.S. 803 (2003) ........................................................................................ 9, 13

New Jersey v. HHS,
  670 F.2d 1262 (3d Cir. 1981) .............................................................................. 16

New Jersey v. U.S. Dep’t of Health & Hum. Servs.,
  2008 WL 4936933 (D.N.J. Nov. 17, 2008) ........................................... 8, 11, 12, 19

New York v. U.S. Dep’t of Health & Hum. Servs.,
  2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008) ................................................ passim

                                                         iii
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 5 of 37 PageID 852




Ohio Forestry Ass’n v. Sierra Club,
 523 U.S. 726 (1998) ........................................................................................ 9, 13

Orengo Caraballo v. Reich,
  11 F.3d 186 (D.C. Cir. 1993) .............................................................................. 27

Pittman v. Cole,
  267 F.3d 1269 (11th Cir. 2001) .............................................................................9

Seafarers Int’l Union of N. Am., AFL-CIO v. U.S. Coast Guard,
  736 F.2d 19 (2d Cir. 1984) .................................................................................. 12

Shalala v. Guernsey Mem’l Hosp.,
  514 U.S. 87 (1995) .............................................................................................. 28

Siegel v. LePore,
  234 F.3d 1163 (11th Cir. 2000) ........................................................................... 17

St. Marie v. Ludeman,
  2010 WL 924420 (D. Minn. Mar. 11, 2010) ........................................................ 18

Tennessee v. U.S. Dep’t of State,
  329 F. Supp. 3d 597 (W.D. Tenn. 2018), aff’d,
  931 F.3d 499 (6th Cir. 2019) ................................................................8, 12, 14, 16

Thunder Basin Coal Co. v. Reich,
  510 U.S. 200 (1994) ...................................................................................... 14, 15

TRW Inc. v. Andrews,
 534 U.S. 19 (2001) .............................................................................................. 23

United States v. Castro,
 837 F.2d 441 (11th Cir. 1988) ............................................................................. 22

United States v. Jefferson Cnty.,
 720 F.2d 1511 (11th Cir. 1983) .............................................................................8

United States v. Oakland Cannabis Buyers’ Coop.,
 532 U.S. 483 (2001) ............................................................................................ 29

Warshauer v. Solis,
 577 F.3d 1330 (11th Cir. 2009) ..................................................................... 27, 28

West Virginia v. Thompson,
 475 F.3d 204 (4th Ci. 2007) ................................................................................ 16
                                               iv
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 6 of 37 PageID 853




Winter v. Nat. Res. Def. Council, Inc.,
 555 U.S. 7 (2008) ........................................................................................... 7, 17

Wreal, LLC v. Amazon.com, Inc.,
 840 F.3d 1244 (11th Cir. 2016) ........................................................................... 18

Yellen v. Confederated Tribes of Chehalis Rsrv.,
  141 S. Ct. 2434 (2021) ........................................................................................ 23

FEDERAL STATUTES

5 U.S.C. § 553 .......................................................................................................27

30 U.S.C. § 816 .....................................................................................................15

42 U.S.C. § 1315 ....................................................................................................11

42 U.S.C. § 1316 ................................................................................... 10, 11, 13, 15

42 U.S.C. §§ 1396 et seq. ...........................................................................................3

42 U.S.C. § 1396a ....................................................................................................3

42 U.S.C. § 1396a (2022) ............................................................................. 4, 20, 21

42 U.S.C. §§ 1397aa et seq. .......................................................................................3

42 U.S.C. § 1397aa ..................................................................................................3

42 U.S.C. § 1397bb ..................................................................................................3

42 U.S.C. § 1397cc .................................................................................... 24, 25, 27

42 U.S.C. § 1397ff ................................................................................................. 10

42 U.S.C. § 1397gg .......................................................................................... passim

42 U.S.C. § 1397jj ....................................................................................................3

Consolidated Appropriations Act, 2023,
 Pub. L. No. 117-328, 136 Stat. 4459 (2022) ................................................... passim

STATE STATUTES

Fla. Stat. § 624.91 .................................................................................................. 18

                                                           v
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 7 of 37 PageID 854




REGULATIONS

42 C.F.R. § 435.916 ............................................................................................... 23

42 C.F.R. § 435.926 ..................................................................................4, 5, 20, 26

42 C.F.R. § 435.930 ..................................................................................... 4, 20, 22

42 C.F.R. § 457.50 ...................................................................................................3

42 C.F.R. § 457.60 ................................................................................................. 10

42 C.F.R. §§ 457.80-457.140 ....................................................................................3

42 C.F.R. § 457.160 ............................................................................................... 10

42 C.F.R. § 457.203 ......................................................................................... 10, 11

42 C.F.R. § 457.204 ......................................................................................... 10, 11

42 C.F.R. § 457.206 ............................................................................................... 10

42 C.F.R. § 457.208 ......................................................................................... 11, 13

42 C.F.R. § 457.342 ....................................................................................... 5, 7, 20

OTHER AUTHORITIES

Stabilize Medicaid and CHIP Coverage Act of 2021, S. 646, 117th Cong. (2021),
  Congress.gov,
  https://www.congress.gov/bill/117th-congress/senate-bill/646/
  all-actions?overview=closed&s=5&r=20&q=%7B%22search%22%3A%22S.
  +646%22%7D#tabs ........................................................................................... 23




                                                          vi
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 8 of 37 PageID 855




                                 INTRODUCTION

      The Children’s Health Insurance Program (“CHIP”) is a cooperative federal-

state program enacted to expand health insurance coverage to low-income children

whose families’ incomes are too low to buy private insurance but too high to qualify

for Medicaid. To receive federal funding under CHIP, a state must have a state plan

that meets federal requirements. When a state plan is in “substantial noncompliance”

with those requirements, the Centers for Medicare & Medicaid Services (“CMS”) may

withhold federal funding, but only after an extensive administrative process. And any

judicial review of such a finding must take place in the Courts of Appeals.

      Previously, federal law provided that states “may” include in their Medicaid

and CHIP plans a period of “continuous eligibility,” during which a child’s coverage

generally may not be terminated, subject to certain exceptions. While Medicaid has

never permitted states to terminate coverage for nonpayment of premiums during a

period of continuous eligibility, in 2016, CMS created a regulatory exemption to allow

for such terminations in the CHIP program. In the Consolidated Appropriations Act,

2023 (“CAA”), Pub. L. No. 117-328, § 5112, 136 Stat. 4459, 5940 (2022), Congress

changed this scheme in two fundamental ways. First, it provided that states “shall”

provide for continuous eligibility in both their Medicaid and CHIP plans, something

that had previously been optional. Second, it provided that the continuous eligibility

requirement “shall” apply to CHIP “in the same manner” as it does to Medicaid,

meaning that the prior, CHIP-specific regulatory exception could not survive. These

changes were intended to reduce “churn”—cycles of termination and reenrollment
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 9 of 37 PageID 856




that increase administrative costs and cause coverage lapses for vulnerable children.

      The CMS guidance at issue here—a set of FAQs—simply sets out this

understanding of the statute, and it is both correct and procedurally sound. But the

Court need not reach the merits of those issues, as Florida’s preliminary injunction

motion fails for more fundamental reasons. To start, the State’s claims are not ripe.

Florida in essence asks the Court to enjoin CMS from withholding CHIP funding or

taking other corrective action based on the interpretation set out in the FAQs. But the

CHIP statute and its regulations set forth a lengthy administrative process that would

have to take place before CMS could do any such thing—a process that has not even

begun. And even if that process had run its course, the Court would lack jurisdiction

for an additional reason, because judicial review of issues concerning state plans that

do not comply with federal requirements is confined to the Courts of Appeals.

      Even if there were jurisdiction, Florida fails to show that the Court should

exercise its emergency equitable powers to upend the ordinary administrative process.

The State identifies no irreparable harm that would be forestalled by an injunction at

this time. Its claimed injury is fundamentally monetary—a hypothetical withholding

of federal funding—and hardly imminent, given the absence of any administrative

proceedings. Florida’s delay in seeking emergency relief—more than three months

have passed since the FAQs were issued—also belies the notion that judicial

intervention is urgently needed. And the equities and public interest tilt decidedly

against an injunction, which would not only circumvent the careful administrative


                                          2
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 10 of 37 PageID 857




 scheme that Congress prescribed but will leave low-income children without medical

 coverage. Florida’s motion for a preliminary injunction should be denied.

                                    BACKGROUND

 I.    The Medicaid and CHIP Programs

       Medicaid, enacted in 1965 as Title XIX of the Social Security Act, is a

 cooperative federal-state program in which the federal government makes payments

 to states to assist them in providing medical assistance to certain low-income

 individuals. 42 U.S.C. §§ 1396 et seq. To participate in the Medicaid program, a State

 must submit a plan for medical assistance for approval by the Secretary of Health and

 Human Services. Id. § 1396a(b). A State plan defines the categories of individuals that

 can receive benefits and the specific kinds of services the State covers as medical

 assistance for each category. Id. § 1396a(a)(10), (a)(17).

       In 1997, Congress created CHIP under Title XXI of the Social Security Act, 42

 U.S.C. §§ 1397aa et seq. CHIP provides federal funds to enable states to expand health

 insurance coverage to uninsured children whose families’ incomes are too high to

 qualify for Medicaid. See id. § 1397jj. Like Medicaid, a state must have an approved

 state plan to receive federal funding under CHIP. Id. § 1397aa(b); 42 C.F.R. § 457.50.

 Each plan must meet certain federal requirements. See 42 U.S.C. § 1397bb; see also 42

 C.F.R. §§ 457.80-457.140.




                                             3
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 11 of 37 PageID 858




 II.    Continuous Eligibility in State Medicaid and CHIP Plans

        A.     Prior Law

        Under prior law, the Medicaid statute gave states the option to include in their

 state plans a “continuous eligibility” period of up to 12 months for children under 19.

 42 U.S.C. § 1396a(e)(12) (2022). During this period, a child “determined to be eligible

 for benefits under” a state plan generally had to remain “eligible for those benefits.”

 Id.

        In 2016, CMS promulgated a regulation implementing this section of the

 Medicaid statute. See 42 C.F.R. § 435.926. The regulation specified that “[a] child’s

 [Medicaid] eligibility may not be terminated during a continuous eligibility period,

 regardless of any changes in circumstances, unless” one of five exceptions was met:

 “(1) The child attains the maximum age specified in accordance with paragraph (b)(1)

 of this section; (2) The child or child’s representative requests a voluntary termination

 of eligibility; (3) The child ceases to be a resident of the State; (4) The agency

 determines that eligibility was erroneously granted at the most recent determination,

 redetermination or renewal of eligibility because of agency error or fraud, abuse, or

 perjury attributed to the child or the child’s representative; or (5) The child dies.” Id.

 § 435.926(d). Notably, this regulation did not permit termination of Medicaid

 coverage for nonpayment of premiums during periods of continuous eligibility,

 consistent with preexisting Medicaid regulations. See id. § 435.930(b) (providing that

 states “must . . . [c]ontinue to furnish Medicaid regularly to all eligible individuals until

                                              4
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 12 of 37 PageID 859




 they are found to be ineligible”).

       At the same time, CMS also issued a regulation permitting states to include a

 similar period of continuous eligibility in their CHIP plans. Id. § 457.342. This

 regulation stated that, “[i]n addition to the reasons provided at § 435.926(d) of this

 chapter”—that is, the five exceptions set forth above permitting termination of

 Medicaid eligibility—an additional exception applied in the CHIP context, where “a

 child may be terminated during the continuous eligibility period for failure to pay

 required premiums or enrollment fees required under the State plan,” id. § 457.342(b).

 This exception did not apply to Medicaid—it was unique to CHIP.

       B.     The Consolidated Appropriations Act, 2023

       On December 29, 2022, Congress enacted the CAA. Pub. L. No. 117-328, 136

 Stat. 4459 (2022). The CAA made two fundamental changes relevant here. First, it

 amended Section 1902(e)(12) of the Medicaid statute to provide that State plans

 “shall” include a 12-month continuous eligibility period, which had previously been

 optional. See id. § 5112(a). Second, it amended the CHIP statute to incorporate this

 Medicaid continuous eligibility requirement by reference. Id. § 5112(b). As a result,

 the CHIP statute now reads that Section 1902(e)(12) of the Medicaid statute, as

 amended by Section 5112(a) of the CAA, “shall apply to States under this subchapter

 [i.e., CHIP] in the same manner as [it] appl[ies] to a State under subchapter XIX [i.e.,

 Medicaid].” 42 U.S.C. § 1397gg(e)(1)(K). The sole exception to this “in the same

 manner” directive is that CHIP coverage may end if a child “becomes eligible for full


                                            5
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 13 of 37 PageID 860




 benefits” and is “transferred to the [state’s] Medicaid program . . . for the remaining

 duration of the 12-month continuous eligibility period.” CAA § 5112(b).

         C.    The Challenged Guidance

         On September 29, 2023, CMS issued a “State Health Official” Letter addressing

 the CAA’s changes to the continuing eligibility requirement. See Pls.’ Mot. for Prelim.

 Inj. (“Pls.’ Mot.”) Ex. 3, ECF No. 2-3 (“SHO Letter”). The SHO Letter explained that

 the CAA “amended section 1902(e)(12)” of the Medicaid statute to “require one year

 of [continuous eligibility] under the state plan . . . for children under age 19,” and

 “added a new paragraph (K) to section 2107(e)(1)” of the CHIP statute that, “through

 cross reference to section 1902(e)(12)” of the Medicaid statute, applied the same

 continuing eligibility requirement—with the same exceptions—to CHIP. SHO Letter

 at 4.

         The SHO Letter also discussed the importance of the continuing eligibility

 period for children in Medicaid and CHIP, which has been shown to “improv[e] short-

 and long-term health status” of children as well as “reduce financial barriers to care

 for low-income families, promote health equity, and provide states with better tools to

 hold health plans accountable for quality care and improved health outcomes.” Id. at

 2. The SHO Letter noted that CMS was “still assessing how non-payment of premiums

 intersects with [continuous eligibility]” in light of the CAA. Id. at 4 n.14.

         On October 27, 2023, CMS issued FAQs that addressed whether states may

 “terminate CHIP coverage during a continuous eligibility (CE) period due to non-


                                             6
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 14 of 37 PageID 861




 payment of premiums.” See Pls.’ Mot. Ex. 4 at 1, ECF No. 2-4 (“FAQs”). The FAQs

 set forth CMS’s understanding of the effect of the CAA’s amendments to the Medicaid

 and CHIP statutes. In short, because the CAA imposed the same continuing eligibility

 requirement in both “[s]ections 1902(e)(12) and 2107(e)(1)(K) of the Social Security

 Act”—i.e., in Medicaid and CHIP—and did “not” incorporate the previous CHIP-

 specific “exception to [continuous eligibility] for non-payment of premiums,” the

 “existing regulatory option at 42 C.F.R. § 457.342(b) for states operating a separate

 CHIP to consider non-payment of premiums as an exception” could not survive. Id.

 III.   This Case

        More than three months after the FAQs were issued, Florida (and its state CHIP

 agency) filed a complaint and preliminary injunction motion. See Compl., ECF No. 1;

 Pls.’ Mot., ECF No. 2. Florida contends that its existing CHIP state plan is

 inconsistent with the interpretation reflected in the FAQs, and that changes to state

 law will require it to submit a state plan amendment that is also inconsistent with that

 interpretation. See, e.g., id. at 10, 22-24. In its preliminary injunction motion, Florida

 seeks to “enjoin CMS from enforcing the FAQs” on the grounds that they contradict

 the CHIP statute and are procedurally infirm under the Administrative Procedure Act.

 Id. at 25.

                                  LEGAL STANDARD

        “A preliminary injunction is an extraordinary remedy never awarded as of

 right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citation omitted). To

                                              7
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 15 of 37 PageID 862




 justify this “drastic remedy,” the movants must “clearly establish[]” (1) that they have

 a substantial likelihood of success on the merits; (2) that they will suffer irreparable

 harm without an injunction; (3) that the balance of equities tips in their favor; and

 (4) that preliminary relief serves the public interest. Davidoff & CIE, S.A. v. PLD Int’l

 Corp., 263 F.3d 1297, 1300 (11th Cir. 2001) (citation omitted). Florida bears the burden

 of persuasion on each element. United States v. Jefferson Cnty., 720 F.2d 1511, 1519 (11th

 Cir. 1983). Florida has not met any of the factors and its motion should be denied.

                                      ARGUMENT

 I.    This Court lacks jurisdiction to hear this case.

       A.     Florida’s claim is not ripe for judicial review.

       Florida’s claim fails at the threshold because it is unripe. CMS has neither

 disapproved a proposed state plan amendment—which Florida has not even submitted

 yet—nor taken any action to find Florida’s existing plan to be noncompliant, whether

 for the reasons addressed in the FAQs or otherwise. Two courts have already held that

 similar challenges to a CHIP SHO Letter were not ripe. New Jersey v. U.S. Dep’t of Health

 & Hum. Servs., 2008 WL 4936933 (D.N.J. Nov. 17, 2008); New York v. U.S. Dep’t of

 Health & Hum. Servs., 2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008); see also Tennessee v.

 U.S. Dep’t of State, 329 F. Supp. 3d 597, 617 (W.D. Tenn. 2018), aff’d, 931 F.3d 499

 (6th Cir. 2019) (holding unripe challenge to federal requirement for Medicaid, which

 has nearly identical administrative process). Like those courts found, in the absence of

 a final agency determination adversely affecting Florida in a concrete way, judicial


                                             8
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 16 of 37 PageID 863




 review is premature.

        “The ripeness doctrine is drawn both from Article III limitations on judicial

 power and from prudential reasons for refusing to exercise jurisdiction.” Nat’l Park

 Hosp. Ass’n v. Dep’t of Interior, 538 U.S. 803, 808 (2003) (citation omitted). The doctrine

 “prevent[s] the courts, through avoidance of premature adjudication, from entangling

 themselves in abstract disagreements over administrative policies” and “protect[s] the

 agencies from judicial interference until an administrative decision has been

 formalized and its effects felt in a concrete way by the challenging parties.” Id. at

 807-08 (citation omitted); see also Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990);

 Ipharmacy v. Mukasey, 268 F. App’x 876, 878 (11th Cir. 2008).

        To determine whether an agency action is ripe, courts evaluate two factors:

 (1) the fitness of the issues for judicial decision; and (2) the hardship to the parties of

 withholding court consideration. Abbott Lab’ys v. Gardner, 387 U.S. 136, 149 (1967); see

 also Elend v. Basham, 471 F.3d 1199, 1211 (11th Cir. 2006). This requires an assessment

 of (1) “whether judicial intervention would inappropriately interfere with further

 administrative action;” (2) “whether the courts would benefit from further factual

 development of the issues presented;” and (3) “whether delayed review would cause

 hardship to the plaintiffs.” Ohio Forestry Ass’n v. Sierra Club, 523 U.S. 726, 733 (1998);

 see also Pittman v. Cole, 267 F.3d 1269, 1278 (11th Cir. 2001).

        Here, judicial intervention would interfere with the carefully prescribed

 administrative review process that must occur before CMS could take any enforcement

                                              9
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 17 of 37 PageID 864




 action in the first place. See Nat’l Advert. Co. v. City of Miami, 402 F.3d 1335, 1339-40

 (11th Cir. 2005) (concluding case was not ripe because plaintiff never properly pursued

 its claim through the administrative process made available by city ordinance). Under

 the CHIP statute and regulations, when a state amends its state plan, that plan is

 considered approved unless CMS notifies the state within 90 days that it is disapproved

 or that additional information is needed. 42 U.S.C. § 1397ff(c); 42 C.F.R. § 457.160(b).

 Any state “dissatisfied” with CMS’s disapproval of a state plan amendment may

 request reconsideration and is entitled to a hearing. 42 U.S.C. § 1316(a)(2); 42 C.F.R.

 § 457.203(a).

       The CHIP statute and regulations also provide for a separate administrative

 process that must occur before an existing state plan is deemed to be in noncompliance

 with federal requirements. See 42 C.F.R. §§ 457.204, 457.60(a). Before CMS could

 impose any financial sanctions, the state is entitled to notice, a reasonable opportunity

 for correction, and an opportunity for a hearing. 42 U.S.C. § 1397ff(c), (d); 42 C.F.R.

 §§ 457.203, 457.204. CMS generally does not hold a hearing until it has made a

 reasonable effort to resolve the issue through conferences and discussions. Id.

 § 457.204(a)(2). If a compliance hearing nonetheless becomes necessary, the state is

 afforded the full panoply of trial-type procedural protections. Id. § 457.206. After the

 hearing, CMS may withhold payments, in whole or in part, only if the Administrator

 finds that the state plan is in “substantial noncompliance” with federal requirements.

 Id. § 457.204(a).


                                            10
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 18 of 37 PageID 865




         Any state dissatisfied with “the Administrator’s final determination on

 approvability of plan material (§ 457.203) or compliance with Federal requirements

 (§ 457.204) has a right to judicial review.” Id. § 457.208(a); see also 42 U.S.C.

 § 1397gg(e)(2)(B); id. § 1316(a), (b). Specifically, the CHIP statute provides that the

 administrative and judicial review provisions for Medicaid, i.e., Section 1116 of the

 Social Security Act, also apply to CHIP. Id. § 1397gg(e)(2)(B); see also id. § 1316(a). To

 obtain judicial review, “[t]he State must file a petition for review with the U.S. Court

 of Appeals for the circuit in which the State is located.” 42 C.F.R. § 457.208(b)(1); see

 also 42 U.S.C. § 1316(a).

         None of these required steps has happened yet. Florida has not submitted any

 state plan amendment to CMS, nor has the Administrator denied any such plan

 amendment. 1 The Administrator has not taken any action to initiate proceedings that

 could result in a finding that Florida’s existing plan is in “substantial noncompliance.”

 Any determination that Florida’s plan is noncompliant could “be promptly challenged

 through an administrative procedure, which in turn is reviewable by a court.” New

 Jersey, 2008 WL 4936933, at *10. This review provides “an adequate forum for testing”

 the policy “in a concrete situation.” Id. (citation omitted); accord New York, 2008 WL

 5211000, at *12.


 11
    Florida’s potential request for a “section 1115 waiver” does not change the analysis. Florida asserts
 that it was told that it must apply for a waiver under Section 1115 of the Social Security Act, 42 U.S.C.
 § 1315(a), to implement the expanded CHIP program contemplated by Florida H.B. 121, Compl. ¶ 79,
 and suggests that it intends to do so, id. ¶ 81. But Florida acknowledges that it must still submit a state
 plan amendment. See id. ¶ 79. Florida has submitted neither a waiver application nor a state plan
 amendment.
                                                    11
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 19 of 37 PageID 866




        Further, the issues presented in this case would benefit from further factual

 development. For example, Florida makes the speculative claim that it “anticipates that

 compliance with the [CMS] FAQs will cost approximately $1 million each month,”

 Pls.’ Mot. at 23 (emphasis added), but provides no specifics about how it arrived at

 this figure. And while Florida may claim that it challenges only the legality of the

 FAQs, that is not sufficient to establish the claim is ripe. See New Jersey, 2008 WL

 4936933, at *11 (claim was unripe despite the fact that the “rulemaking claim [was]

 predominantly legal”).

        Delayed review would pose no significant hardship to Florida. “[I]n weighing

 the hardship to the parties of withholding court consideration,” the fact that “there are

 available administrative remedies which are not even referred to, much less shown to

 have been exhausted,” is “crucial.” Seafarers Int’l Union of N. Am., AFL-CIO v. U.S. Coast

 Guard, 736 F.2d 19, 28 (2d Cir. 1984). Florida has “not established that [it] face[s]

 significant hardship” because “no administrative proceedings against the State or

 withholding of funds for noncompliance have begun.” Tennessee, 329 F. Supp. 3d at

 618; see also New York, 2008 WL 5211000, at *14 (“If Plaintiffs choose not to abide by

 the SHO Letter guidance, it is not clear that they will face any penalties, other than the

 possible rejection of their []CHIP plan amendment, which can be challenged in federal

 circuit court.”)

        Moreover, unlike the formal regulations at issue in Abbott Laboratories, which

 were “effective immediately upon publication,” 387 U.S. at 152, the FAQs are not


                                            12
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 20 of 37 PageID 867




 self-executing. They do not on their own “grant, withhold, or modify any formal legal

 license, power, or authority” or “subject anyone to any civil or criminal liability.” Nat’l

 Park Hospitality Ass’n, 538 U.S. at 809 (quoting Ohio Forestry Ass’n, 523 U.S. at 733).

 Like the CHIP SHO Letter at issue in New York and New Jersey, the FAQs do “not

 create obligations or legal consequences” for Florida—indeed, “[a] state does not face

 any legal obligation to change its plan until the CMS Administrator initiates non-

 compliance proceedings.” New York, 2008 WL 5211000, at *13. The FAQs merely

 constitute an interpretive rule intended to provide states with guidance on what CMS

 understands the effect of the CAA’s amendments to be. See Jean v. Nelson, 711 F.2d

 1455, 1478 (11th Cir. 1983). Because CMS has taken no action against Florida—

 something it could do only by proceeding through the administrative process and

 making a final determination, a process that has not even begun—Florida’s claims are

 not ripe. See Flowers Indus. v. FTC, 849 F.2d 551, 552-53 (11th Cir. 1988) (holding

 challenge to FTC letter was not ripe because the FTC could only effectuate letter by

 bringing an enforcement action seeking civil penalties).

       B.      This Court lacks jurisdiction under the CHIP statute.

       This Court also lacks jurisdiction because the CHIP statute assigns judicial

 review of issues concerning plan compliance to the Courts of Appeals. See 42 U.S.C.

 §§ 1397gg(e)(2)(B), 1316; see also 42 C.F.R. § 457.208(a), (b). Where it is “fairly

 discernible” that an elaborate statutory review scheme for administrative enforcement

 proceedings was intended to create an exclusive remedy, parallel jurisdiction outside


                                             13
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 21 of 37 PageID 868




 that scheme is precluded. Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 207, 216 (1994)

 (citation omitted). In such circumstances, claims may only proceed outside that

 scheme if they are not “of the type Congress intended to be reviewed within th[e]

 statutory structure.” Id. at 212. Courts “presum[e] that Congress does not intend to

 limit . . . jurisdiction” if (1) “a finding of preclusion could foreclose all meaningful

 judicial review,” (2) the suit is “wholly collateral to a statute’s review provisions,” and

 (3) the claims lie “outside the agency’s expertise.” Elgin v. Dep’t of Treasury, 567 U.S.

 1, 15 (2012) (citation omitted).

        Florida “cannot avoid the statutorily established administrative-review process

 by rushing to the federal courthouse for an injunction preventing the very action that

 would set the administrative-review process in motion.” Doe v. Fed. Aviation Admin.,

 432 F.3d 1259, 1263 (11th Cir. 2005); see also New York, 2008 WL 5211000, at *15

 (holding that review of challenges to federal CHIP plan requirements is limited to the

 court of appeals); Tennessee, 329 F. Supp. 3d at 620 (same for Medicaid, which involves

 same statutory review provision). Florida’s motion seeks to enjoin Defendants from

 “enforcing the FAQs and prohibiting Florida from disenrolling CHIP participants for

 nonpayment of premiums.” Pls.’ Mot. at 25; see also Compl., Prayer for Relief (seeking

 injunction against “enforcing the FAQs” by, e.g., “disapproving a state CHIP plan

 amendment, denying a CHIP waiver, or initiating a non-compliance finding or

 corrective action plan based on the FAQs”). But as previously described, CMS could

 not take any such action before completing a lengthy administrative process that has


                                             14
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 22 of 37 PageID 869




 not even begun. And Congress has created an exclusive remedy for states to challenge

 any final determination reached after such an administrative process, culminating with

 review in the Court of Appeals. See supra Section I.A. As in Thunder Basin, 510 U.S. at

 206, allowing Florida to challenge a guidance document prior to any concrete agency

 action against the state would disrupt this comprehensive statutory review scheme and

 hamper CMS’s effective administration of CHIP. See Great Plains Coop v. Commodity

 Futures Trading Comm’n, 205 F.3d 353, 355 (8th Cir. 2000).

       Each Thunder Basin factor weighs in favor of the conclusion that Congress

 meant to limit jurisdiction over the claims at issue here. First, precluding judicial

 review now would not foreclose meaningful review later. To the contrary, the

 comprehensive administrative and judicial review scheme in the CHIP statute is

 analogous to that of the Mine Act in Thunder Basin. Compare 42 U.S.C. § 1316 with

 Thunder Basin, 510 U.S. at 208 (citing 30 U.S.C. § 816(a)(1)). Because “the validity of

 agency policymaking can be reviewed under § 1316,” New York, 2008 WL 5211000, at

 *16, Florida may raise the same arguments it does here when it appeals from any

 denial of a state plan amendment or other determination of noncompliance.

       Florida’s claims are also not “wholly collateral” to the administrative review

 scheme but go to the heart of the statute and regulations that CMS enforces. See Doe,

 432 F.3d at 1263. Florida’s claimed harm centers on whether its current or proposed

 amended state plans are consistent with the interpretation set forth in the FAQs. See,

 e.g., Pls.’ Mot. at 24 (“[I]f Florida continues disenrollments in violation of the FAQs,

                                           15
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 23 of 37 PageID 870




 it faces withholding of the federal funds it receives for CHIP.”). This is precisely the

 type of plan-conformity dispute that Congress specified should be reviewed only by

 the Courts of Appeals. See New York, 2008 WL 5211000, at *16; see also New Jersey v.

 HHS, 670 F.2d 1262, 1272-77 (3d Cir. 1981) (explaining that when a dispute concerns

 whether a Medicaid plan conforms to federal requirements, “initial appellate-level

 review” is appropriate); Tennessee, 329 F. Supp. 3d at 620 (rejecting the plaintiffs’

 argument that Section 1316 did not apply to whether federal “Medicaid requirements

 comply with the United States Constitution”). And finally, the State’s claims, which

 concern the proper interpretation of the Medicaid and CHIP statutes, fall squarely

 within the agency’s expertise, particularly given the well-recognized complexities of

 the regulatory scheme. See Elgin, 567 U.S. at 23 (considering in expertise analysis that

 “the challenged statute may be one that [the agency] regularly construes”); West

 Virginia v. Thompson, 475 F.3d 204, 212 (4th Ci. 2007) (the “Medicaid statute is a

 prototypical ‘complex and highly technical regulatory program’ benefitting from

 expert administration”). In sum, Section 1316(a) precludes this Court’s review of

 Florida’s challenge here.

 II.   Florida does not face irreparable harm.

       Even if this Court had jurisdiction, Florida’s request for a preliminary injunction

 should be denied. “Significantly, even if Plaintiffs establish a likelihood of success on

 the merits, the absence of a substantial likelihood of irreparable injury would, standing

 alone, make preliminary injunctive relief improper.” Siegel v. LePore, 234 F.3d 1163,

                                            16
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 24 of 37 PageID 871




 1176 (11th Cir. 2000). “[T]he asserted irreparable injury must be neither remote nor

 speculative, but actual and imminent.” Id. (citation omitted); see also Winter, 555 U.S.

 at 22. Florida has made no such showing here.

        First, Florida has not shown that any actual or imminent loss of funding will

 occur absent a preliminary injunction. As detailed above, an extensive administrative

 process must take place before CMS could take any action to withhold federal funding

 from Florida’s CHIP, see supra Section I.A, and none of the requisite steps have been

 taken here. The Administrator has not initiated any process to find Florida’s plan is in

 substantial noncompliance. And regardless of whatever changes have been made to

 Florida state law, Florida has not submitted any plan amendment or waiver request to

 CMS regarding its purported CHIP expansion. “A district court should not issue a

 preliminary injunction unless it concludes that the movant will suffer immediate harm

 if relief is delayed until the case is finally resolved on the merits.” De La Fuente v. Kemp,

 679 F. App’x 932, 934 (11th Cir. 2017). Even if Florida could conceivably suffer

 irreparable harm at some point in the future, it has offered no reason to believe that

 harm “will occur before the district court can rule on [its] requests for a permanent

 injunction and declaratory relief.” Id.

        Second, Florida offers no explanation why it waited so long to seek a preliminary

 injunction, severely undermining its claim that irreparable injury is imminent. “A

 delay in seeking a preliminary injunction of even only a few months—though not

 necessarily fatal—militates against a finding of irreparable harm.” Wreal, LLC v.


                                              17
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 25 of 37 PageID 872




 Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016). Here, Florida waited more

 than three months after the FAQs were issued in October 2023 to seek emergency

 relief. That the State “pursued its preliminary-injunction motion with the urgency of

 someone out on a meandering evening stroll rather than someone in a race against

 time” severely undermines any argument that the State will be imminently harmed in

 the absence of preliminary relief. Id. at 1246; Citibank, N.A. v. Citytrust, 756 F.2d 273,

 276 (2d Cir. 1985) (ten-week delay undercut the claim of irreparable harm); St. Marie

 v. Ludeman, 2010 WL 924420, at *4 (D. Minn. Mar. 11, 2010) (three-week delay

 “undermines [plaintiff’s] claims of imminent irreparable harm”).

       Third, Florida’s alleged “sovereign injury” does not support a claim of

 irreparable harm. It asserts that Fla. Stat. § 624.91(5)(b)(9) “requires disenrolling CHIP

 participants for nonpayment of premiums,” so it is “caught between CMS and Florida

 law.” Pls.’ Mot. at 21-22. However, the statutory provision Florida cites does not say

 this. Instead, it merely provides that Florida’s CHIP plan shall “[e]stablish enrollment

 criteria that include penalties or waiting periods of 30 days for reinstatement of

 coverage upon voluntary cancellation for nonpayment of family premiums.” Fla. Stat.

 § 624.91(5)(b)(9). The statute says nothing about continuous eligibility, let alone that

 Florida law requires disenrollment for nonpayment of premiums. In any event, mere

 preemption of state law does not amount to irreparable harm. “[I]t is black-letter law

 that the federal government does not ‘invade[ ]’ areas of state sovereignty ‘simply

 because it exercises its authority’ in a way that preempts conflicting state laws.” Florida


                                             18
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 26 of 37 PageID 873




 v. HHS, 19 F.4th 1271, 1291 (11th Cir. 2021) (quoting Hodel v. Va. Surface Mining &

 Reclamation Ass’n, 452 U.S. 264, 291 (1981)). As the Eleventh Circuit has explained,

 “to conclude otherwise would mean that a state would suffer irreparable injury from

 all . . . federal laws with preemptive effect.” Id. at 1292.

        Fourth, Florida claims that it will incur monetary harm because it “anticipates

 that compliance with the FAQs will cost approximately $1 million each month.” Pls.’

 Mot. at 23. As noted, any “anticipated” monetary loss is speculative at this juncture.

 See Clapper v. Amnesty International USA, 568 U.S. 398, 418 (2013). And other courts

 have flatly rejected claims that a state confronts an “untenable dilemma” when

 deciding whether to “conform its plan, at great expense, to the requirements of” CMS

 policy or instead to risk the “possibility of corrective action and the loss of its []CHIP

 funding.” New Jersey, 2008 WL 4936933, at *9. Were the law otherwise, a state could

 claim irreparable harm virtually any time it disagreed with CMS’s view of the

 regulatory scheme. Accordingly, Florida has not shown imminent irreparable harm.

 III.   Florida is unlikely to succeed on the merits.

        Florida is also unlikely to succeed on the merits of any of its claims, as the FAQs

 both correctly interpret the statute and are procedurally sound.

        A.     The FAQs properly interpret the CAA’s amendments to CHIP.

        In the CAA, Congress for the first time directed that continuing eligibility in

 CHIP “shall” be applied “in the same manner” as in Medicaid, where states are not

 permitted to terminate coverage for nonpayment of premiums during periods of


                                             19
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 27 of 37 PageID 874




 continuing eligibility. This meant that the prior, CHIP-only regulatory exception could

 not survive, an understanding that CMS correctly explained in the FAQs.

        This conclusion follows from the statute’s plain text. Under prior law, the

 Medicaid statute provided that states “may” offer continuing eligibility for a period of

 up to 12 months, during which time a child “determined to be eligible for benefits

 under a State plan . . . shall remain eligible for those benefits.” 42 U.S.C. § 1396a(e)(12)

 (2022). CMS subsequently promulgated two regulations that are relevant here.

        Under the first regulation, which concerned Medicaid, a “child’s eligibility may

 not be terminated during a continuous eligibility period” unless one of five exceptions

 is met. 42 C.F.R. § 435.926(d). Consistent with preexisting Medicaid regulations,

 which provided that states “must . . . [c]ontinue to furnish Medicaid regularly to all

 eligible individuals until they are found to be ineligible,” id. § 435.930(b), the

 continuous eligibility regulation for Medicaid contained no exception permitting

 termination for nonpayment of premiums during a continuous eligibility period.

        The second regulation, which concerned CHIP, contained an additional

 exception unique to that program. It provided that, “[i]n addition to the” exceptions

 in 42 C.F.R. § 435.926(d) permitting termination of Medicaid eligibility, in CHIP “a

 child may be terminated during the continuous eligibility period for failure to pay

 required premiums or enrollment fees under the State plan.” Id. § 457.342(b). This

 exception did not apply to Medicaid.

        In the CAA, Congress fundamentally altered this scheme. In addition to making


                                             20
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 28 of 37 PageID 875




 continuing eligibility mandatory, rather than optional, for both Medicaid and CHIP,

 it provided that the requirement “shall” be applied “in the same manner” in both

 programs. Specifically, in a section of the CAA titled “Continuous Eligibility for

 Children Under Medicaid and CHIP,” Congress amended the Medicaid statute to

 require that a “State plan . . . shall provide” that children “determined to be eligible

 for benefits under a State plan” generally “shall remain eligible for such benefits” for

 a 12-month period. CAA § 5112(a) (amending 42 U.S.C. § 1396a(e)(12)). And in the

 same section of the CAA, Congress amended the CHIP statute to incorporate this

 Medicaid    requirement     by   reference.    Id.   § 5112(b)   (amending   42   U.S.C.

 § 1397gg(e)(1)). As a result, the CHIP statute now provides that, with one exception,

 the continuing eligibility requirement in Section 1902(e)(12) of the Medicaid statute,

 as amended by the CAA, “shall apply to States under this subchapter [i.e., CHIP] in

 the same manner as they apply to a State under subchapter XIX [i.e., Medicaid].” 42

 U.S.C. § 1397gg(e)(1)(K).

       Given these changes to the statutory framework, CMS rightly understood that

 the prior CHIP-specific regulatory exception permitting termination of coverage for

 nonpayment of premiums during periods of continuing eligibility could not survive.

 Indeed, the sole exception that Congress provided to its “in the same manner”

 directive—that CHIP coverage may end if the child “becomes eligible for full benefits

 under” and is “transferred to” the state’s Medicaid program for the remainder of the

 continuing eligibility period, CAA § 5112(b)—confirms this conclusion. See United


                                               21
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 29 of 37 PageID 876




 States v. Castro, 837 F.2d 441, 442 (11th Cir. 1988) (“A general guide to statutory

 construction states that the mention of one thing implies the exclusion of another.”

 (citation omitted)).

         Florida’s arguments to the contrary cannot overcome the statute’s plain text.

 The State principally contends that the FAQs improperly equate the words “eligibility”

 and “enrolled.” Pls.’ Mot. at 14-15. But that ignores the statutory and regulatory

 scheme that Congress was legislating against. In Medicaid, it has long been the case

 that states “must . . . [c]ontinue to furnish Medicaid regularly to all eligible individuals

 until they are found to be ineligible,” 42 C.F.R. § 435.930(b); accordingly, in that

 program, there has never been an exception to continuing eligibility for termination

 for nonpayment of premiums, see id. § 435.926(d). “Congress can be presumed to be

 aware of relevant administrative interpretations when reenacting or amending a

 statute[.]” Duarte v. Mayorkas, 27 F.4th 1044, 1059 (5th Cir. 2022). Thus, when

 requiring in the CAA that continuing eligibility be applied “in the same manner” in

 the two programs, Congress necessarily understood that CHIP beneficiaries would

 now receive uninterrupted coverage during the continuous eligibility period, as

 Medicaid beneficiaries already did. See also K Mart Corp. v. Cartier, Inc., 486 U.S. 281,

 291 (1988) (courts must look to “the language and design of the statute as a whole”). 2


 2
   Florida relies on text of a draft bill that states that “an individual who is determined to be eligible for
 [such] benefits . . . shall remain eligible and enrolled for such benefits for the duration of the specified
 period.” Pls.’ Mot. at 15 (citation omitted). However, a draft bill text that never advanced out of
 committee, let alone became law, is of minimal probative value. See Stabilize Medicaid and CHIP
 Coverage        Act      of     2021,       S.      646,     117th     Cong.      (2021),    Congress.gov,

                                                     22
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 30 of 37 PageID 877




        Indeed, Florida’s interpretation would effectively render the continuous

 eligibility requirement in Medicaid superfluous. In the State’s telling, the phrase “shall

 remain eligible for such benefits,” CAA § 5112(a), does no more than prohibit states

 from conducting an eligibility redetermination during the 12-month continuous

 eligibility period. But existing Medicaid regulations prohibit states from requiring a

 renewal of eligibility more frequently than every 12 months. 42 C.F.R. § 435.916(a).

 For the phrase “shall remain eligible for such benefits” to have the practical effect of

 stabilizing coverage for low-income children, it must mean that states are required to

 maintain coverage during the continuous eligibility period, absent an exception. See

 TRW Inc. v. Andrews, 534 U.S. 19, 29, 31 (2001) (refusing to adopt interpretation that

 “would in practical effect render that exception entirely superfluous in all but the most

 unusual circumstances”); see also Gonzalez v. McNary, 980 F.2d 1418, 1420 (11th Cir.

 1993). Accordingly, when read in the context of the broader Medicaid statute and its

 regulations, the phrase “shall remain eligible for such benefits” in CAA § 5112(a)

 means that states cannot terminate coverage, not that they must merely consider

 beneficiaries to meet the eligibility criteria. See Yellen v. Confederated Tribes of Chehalis

 Rsrv., 141 S. Ct. 2434, 2448 (2021) (“The most grammatical reading of a sentence in a

 vacuum does not always produce the best reading in context.”).

        Florida’s contention that the FAQs conflict with 42 U.S.C. § 1397cc(e)(3) also



 https://www.congress.gov/bill/117th-congress/senate-bill/646/all-
 actions?overview=closed&s=5&r=20&q=%7B%22search%22%3A%22S.+646%22%7D#tabs                (last
 accessed Feb. 19, 2024).
                                              23
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 31 of 37 PageID 878




 fails. As the title of that provision indicates, it addresses “Premium grace period[s],”

 not the distinct issue of whether CHIP coverage may be terminated during a

 continuing eligibility period. Specifically, Section 1397cc(e)(3) provides that a state

 must give CHIP beneficiaries “a grace period of at least 30 days from the beginning of

 a new coverage period to make premium payments” before coverage may be

 terminated, id. § 1397cc(e)(3)(C)(i), with “new coverage period” defined as “the month

 immediately following the last month for which the premium has been paid,” id.

 § 1397cc(e)(3)(C)(ii)(II). Contrary to Florida’s suggestion, this provision can be read

 in harmony with the CAA’s amendments: If a beneficiary fails to make premium

 payments at some point within the continuous eligibility period, the grace period

 would still begin the following month and last for “at least 30 days,” until the end of

 the continuous eligibility period. See id. § 1397cc(e)(3)(C)(i). And the state would still

 be required to provide notice “not later than 7 days” from the start of the grace period

 that failure to make a missed premium payment “within the grace period”—i.e., by the

 end of the continuous eligibility period—“will result in termination of coverage.” Id.

 § 1397cc(e)(3)(C)(ii)(I). “It is this Court’s duty to interpret Congress’s statutes as a

 harmonious whole rather than at war with one another,” Epic Sys. Corp. v. Lewis, 584

 U.S. 497, 502 (2018), and it can readily do so here.

       Finally, the FAQs do not violate the grandfathering provisions of the CHIP

 statute. It is true that Florida’s program was grandfathered into CHIP when it was

 created in 1997, see id. § 1397cc(d)(1)(C), but that does not give Florida carte blanche to


                                             24
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 32 of 37 PageID 879




 refuse to update its CHIP plan to comply with federal law. The provision cited by

 Florida concerns the package of benefits that a CHIP plan must offer, not eligibility

 for coverage. Specifically, Section 1397cc, which is titled “Coverage requirements for

 children’s health insurance,” begins by defining the “[r]equired scope of health

 insurance coverage,” id. § 1397cc(a), such as the “basic services” it must include and

 their “actuarial value,” id. § 1397cc(a)(2)(A)-(B). The statute then grandfathers in

 “existing” plans, including Florida’s, considered to have sufficiently “comprehensive

 . . . coverage,” id. § 1397cc(d), and permits states to make “modifications” to such

 plans that “do[] not reduce the actuarial value of the coverage,” id. § 1397cc(d)(2).

 These scope-of-benefits issues are fundamentally different from the eligibility issues

 addressed by the FAQs. Section 1397cc(a)(3) thus has no relevance here.

       B.     CMS’s interpretation of the CAA is not arbitrary and capricious.

       Florida claims the FAQs are arbitrary and capricious for three reasons. See Pls.’

 Mot. at 17-19. It is wrong at each turn.

       First, it was hardly “illogical” for CMS to reason that the regulatory exceptions

 to continuous eligibility common to Medicaid and CHIP survived the CAA’s

 amendments, but the exception unique to CHIP could not. As explained, see supra

 Section III.A., the CHIP statute now states that the Medicaid statute’s continuous

 eligibility requirement applies to CHIP “in the same manner” as it applies to Medicaid,

 necessarily signaling the end of the CHIP-only exception. See CAA § 5112(b); 42

 U.S.C. § 1397gg(e)(1)(K). By contrast, nothing in the CAA casts doubt on the


                                            25
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 33 of 37 PageID 880




 regulatory exceptions common to Medicaid and CHIP that remain. Indeed, it is

 common sense that a state would not preserve the eligibility of someone who either

 (1) has requested termination; (2) has been granted eligibility through error, fraud,

 abuse, or perjury; or (3) is deceased, 42 C.F.R. § 435.926(d)—measures “important to

 protecting program integrity,” as the agency explained. FAQs at 1. This readily meets

 the “minimum standards of rationality” required on arbitrary and capricious review.

 La. Env’t Action Network v. U.S. EPA, 382 F.3d 575, 582 (5th Cir. 2004); Motor Vehicle

 Mfrs. Ass’n v. State Farm, 463 U.S. 29, 43 (1983) (a court must “uphold a decision” of

 even “less than ideal clarity” so long as “the agency’s path may reasonably be

 discerned”).

       Second, contrary to Florida’s claims, CMS did not “reverse[]” its position on any

 “distinction between eligibility and enrollment,” Pls.’ Mot. at 18. As explained, in

 Medicaid, termination of coverage for nonpayment of premiums during periods of

 continuous eligibility has long been prohibited, and in the CAA, Congress extended

 this policy to CHIP. See supra Section III.A. Thus, as CMS explained in the FAQs, the

 “existing regulatory option” for states “to consider non-payment of premiums as an

 exception” to continuous eligibility “will end.” FAQs at 1. The FAQs therefore do not

 amount to a policy change by CMS—they merely communicate that the CAA does

 not permit the former regulation for the nonpayment of premiums exception to remain

 in effect. See infra Section III.C. Florida’s complaint that CMS failed to consider its

 reliance interests is misdirected, see Pls.’ Mot. at 19, since it is Congress and not CMS


                                            26
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 34 of 37 PageID 881




 that chose to change course.

        Third, Florida’s argument that CMS failed to consider that Florida’s program

 was grandfathered into CHIP lacks merit. As described, supra at 24-25, these

 provisions only apply to the list of benefits covered by the state plans. See 42 U.S.C.

 § 1397cc(a)(3), (d). This is wholly irrelevant to whether Florida’s CHIP program must

 comply with federal law and the CAA’s requirements for continuous eligibility.

        C.     The FAQs constitute an interpretive rule exempted from the APA’s
               rulemaking requirements.

        The APA’s rulemaking requirements do not apply to “interpretative rules.” 5

 U.S.C. § 553(b)(A). “A statement [by an agency] seeking to interpret a statutory or

 regulatory term is . . . the quintessential example of an interpretive rule.” Orengo

 Caraballo v. Reich, 11 F.3d 186, 195 (D.C. Cir. 1993). The FAQs constitute an

 interpretive rule that sets forth CMS’s interpretation of the CAA, so notice and

 comment was not required.

        Courts look to several general principles when determining whether a rule is

 interpretive. “First, although not dispositive, the agency’s characterization of the rule

 is relevant to the determination. . . . Second, [a]n interpretative rule simply states what

 the administrative agency thinks the statute means, and only reminds affected parties

 of existing duties. On the other hand, if by its action the agency intends to create new

 law, rights or duties, the rule is properly considered to be a legislative rule.” Warshauer

 v. Solis, 577 F.3d 1330, 1337 (11th Cir. 2009) (citation omitted).

        The FAQs merely set out CMS’s understanding of the CAA’s effect on the

                                             27
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 35 of 37 PageID 882




 Medicaid and CHIP, and do not establish a legislative rule. Notably, the agency itself

 described them only as “guidance.” SHO Letter at 1 (CMS “is issuing this [SHO] letter

 to provide states with guidance” on the CAA); id. at 4 n.14 (indicating CMS’s intent

 to “issue separate guidance” on how “nonpayment of premiums intersects with CE

 under the CAA”). At no point do the FAQs purport to have the force of law. Nor do

 they purport to exercise delegated power to enact policy. See Metropolitan Sch. Dist. v.

 Davila, 969 F.2d 485, 490 (7th Cir. 1992). Instead, CMS’s interpretation is drawn

 directly from the statutory provisions cited. See Warshauer, 577 F.3d at 1337-38. Like

 a “prototypical example of an interpretive rule,” CMS issued them “to advise the

 public of the agency’s construction of the statutes and rules which it administers.”

 Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 99 (1995) (quotations omitted).

        Further, as explained, supra at 12-13, any binding effect the FAQs have flows

 from the CAA, not the FAQs. An interpretive rule can be binding when the effect is

 “not by virtue of the promulgation of the regulation (as in the case of a legislative

 regulation), but by virtue of the binding nature of the interpreted statute.” Dismas

 Charities, Inc. v. U.S. Dep’t of Just., 401 F.3d 666, 681 (6th Cir. 2005). Because the FAQs

 do not create any rights or obligations independent of the statutory provisions they

 interpret, they constitute an interpretive rule.

 IV.    The equities and the public interest weigh against injunctive relief.

        Finally, Florida has not shown that the balance of equities and the public

 interest support a preliminary injunction. A “court sitting in equity cannot ignore the

                                             28
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 36 of 37 PageID 883




 judgment of Congress, deliberately expressed in legislation.” United States v. Oakland

 Cannabis Buyers’ Coop., 532 U.S. 483, 497 (2001) (citation omitted). Indeed, where the

 elected branches have enacted a statute based on their understanding of what the

 public interest requires, this Court’s “consideration of the public interest is constrained

 . . . for the responsible public officials . . . have already considered that interest.” Golden

 Gate Rest. Ass’n v. City & Cnty. Of San Francisco, 512 F.3d 1112, 1126-27 (9th Cir. 2008).

 Here, Congress has acted to expand continuous eligibility in the CHIP program, and

 an injunction would risk restricting medical coverage for one of the country’s neediest

 populations: low-income children. “In addition to improving short- and long-term

 health status, [continuous eligibility] has been shown to reduce financial barriers to

 care for low-income families, promote health equity, and provide states with better

 tools to hold health plans accountable for quality care and improved health outcomes.”

 SHO Letter at 2. The public interest would not be served by entering an injunction

 here, particularly in the absence of any administrative proceedings threatening any

 concrete harm to Florida.

                                       CONCLUSION

        For the foregoing reasons, Florida’s motion for a preliminary injunction should

 be denied.

 DATED: February 20, 2024                           Respectfully submitted,

 Of Counsel:                                        BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney
 SAMUEL R. BAGENSTOS                                General
 General Counsel
                                               29
Case 8:24-cv-00317-WFJ-AAS Document 22 Filed 02/20/24 Page 37 of 37 PageID 884




                                              ERIC B. BECKENHAUER
 PAUL R. RODRÍGUEZ                            Assistant Director
 Deputy General Counsel
                                              /s/ Madeline McMahon
 JANICE L. HOFFMAN                            MADELINE M. MCMAHON (DC
 Associate General Counsel                    Bar No. 1720813)
                                              Trial Attorney
 SUSAN MAXSON LYONS                           U.S. Department of Justice
 Deputy Associate General                     Civil Division, Federal Programs
 Counsel for Litigation                       Branch
                                              1100 L Street NW
 LINDSAY S. GOLDBERG                          Washington, D.C. 20005
 Attorney                                     (202) 451-7722
 U.S. Dept. of Health & Human Services        madeline.m.mcmahon@usdoj.gov
 330 Independence Ave., S.W.
 Washington, D.C. 20201                       Counsel for Defendants
 (202) 619-2795
 Lindsay.Goldberg@hhs.gov




                                         30
